        Case 5:05-cr-02392 Document 30 Filed on 11/17/05 in TXSD Page 1 of 2




                                    UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          LAREDO DIVISION

UNITED STATES OF AMERICA,                                 §
                                                          §
           Plaintiff,                                     §
VS.                                                       § CRIMINAL ACTION NO. L-05-2392
                                                          §
JESUS MARTINEZ-IBARRA, et al,                             §
                                                          §
           Defendant.                                     §

                  ORDER DENYING MOTION TO SUPPRES AND TO DISMISS


      Pending before the Court is Defendant Jesus Martinez-Ibarra’s Motion To Suppress

Evidence and to Dismiss the Indictment [Doc. No. 26]. Fifth Circuit precedent and the Locals

Rules of the United States District Court for the Southern District of Texas require that a motion

set forth with specificity the material facts at issue. In particular, the Fifth Circuit has held that

“[f]actual allegations in the defendant’s motion must be sufficiently definite, specific, detailed,

and non conjectural, to enable the Court to conclude that a substantial claim is presented.”

United States v. Dean , 100 F.3d 19, 21 (5th Cir. 1996). Rule 12.2 of this District’s local rules

similarly requires that a motion which presents issues of fact set forth with particularity the

material facts at issue and that it be supported by affidavit or declaration.

      Defendant’s motion fails to set forth the disputed facts.               While the motion does state that

Defendant “never knowingly, voluntarily and intelligently waived his rights before he was

questioned,” such statement is conclusory.1 Defendant’s motion wholly fails to identify any

disputed facts. In the absence of factual allegations setting forth the disputed facts, Defendant’s

motion to suppress is hereby DENIED.
      1 In a separate section, the motion states that “Mr. Juarez-Perez” did not knowingly and intentionally waive his
Miranda rights. Defendant’s name in Jesus Martinez- Ibarra.




1/2
      Case 5:05-cr-02392 Document 30 Filed on 11/17/05 in TXSD Page 2 of 2




    Defendant also seeks dismissal on the basis that certain of the material witnesses have been

deported and cites United States v. Valenzuela-Bernal , 458 U.S. 858 (1982) in support of his

motion to dismiss. Valenzuela-Bernal requires, among other things, that Defendant offer some

plausible explanation of the assistance he would have received from the testimony of the

deported witnesses in order to establish a Sixth Amendment violation. Id. at 871. Defendant has

wholly failed to do so. Additionally, and as noted by the Court in Valenzuela-Bernal, “it should

be remembered that [Defendant] was present throughout the commission of this [alleged] crime.

No one knows better than he what the deported witnesses actually said to him, or in his presence,

that might bear upon whether he knew that [Valentin Salas-Guerrero and Alvaro Jesus Contreras-

Garcia were] illegal alien[s] . . . . And, in light of the actual charge made in the indictment, it [is]

only the status of [these two aliens] which is relevant to the defense. [These two aliens,] of

course, remained fully available for examination by the defendant and his attorney.” Id.

Accordingly, Defendant’s motion to dismiss is DENIED.



    SIGNED this 17th day of November, 2005.




2/2
